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     IT IS ORDERED as set forth below:



     Date: March 29, 2022
                                                                  _________________________________

                                                                             Paul W. Bonapfel
                                                                       U.S. Bankruptcy Court Judge
    _______________________________________________________________


                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

IN RE:                                               :        CASE NO. 14-71797-PWB
                                                     :
HP/SUPERIOR, INC. d/b/a ST. FRANCIS                  :        CHAPTER 7
HOME IN THE PARK,                                    :
                                                     :
         Debtor.                                     :
                                                     :

                                             CONSENT ORDER

         On April 25, 2016, Merwin LTC Pharmacy (“Merwin”) filed a Motion for Allowance

and Payment of Administrative Expense Claim Pursuant to 11 U.S.C. § 503(b) [Doc. No. 197]

(the “Motion”) seeking, among other things, an order allowing and compelling payment of an

administrative expense claim in the total amount of $35,197.46, which included attorney’s fees

of $5,159.05, arising under a certain Agreement1 between Merwin and HP/Superior, Inc.

(“Debtor”).




1
         Capitalized terms not defined in this Consent Order shall have the meaning ascribed to them in the Motion.


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         Also on April 25, 2016, Merwin filed a notice [Doc. No. 197] (the “Notice”) setting the

Motion for hearing on May 24, 2016 (the “Hearing”). Counsel for Merwin asserts that he

served the Notice on all requisite parties in interest. [Doc. No. 197].

         Counsel for Merwin rescheduled the Hearing on the Motion several times. See [Doc.

Nos. 200, 205, and 207].

         No party in interest filed a pleading in opposition to the relief requested in the Motion.

         At the calendar call for Hearing, counsel for Trustee announced that Trustee and Merwin

had reached an agreement related to the relief requested in the Motion.

         Accordingly, the Court having considered the Motion; Merwin and Trustee having

consented hereto; and for good cause shown, it is hereby

         ORDERED that the Motion is GRANTED to the extent set forth herein. It is further

         ORDERED that under 11 U.S.C. § 503(b) Merwin is allowed a Chapter 11

administrative expense claim in this case in the amount of $30,038.41 without the need for

Merwin to file a proof of claim or any other documents or pleadings in this case. It is further

         ORDERED that the allowed Chapter 11 administrative expense claim of Merwin, as

allowed in this Order, shall be paid in accordance with the priorities established by applicable

law on a pro rata basis with all other allowed Chapter 11 administrative expense claims

following payment in full of all allowed Chapter 7 administrative expense claims.

                                      [END OF DOCUMENT]




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Order prepared and consented to by:

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Reviewed and consented to by:

GEIGER LAW, LLC
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Identification of parties to be served:

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